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Hovedoversigt
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Hovedoversigt over statsbudgettet                                                                                                   2019
                                                                                        Udgifter      Udgifter     Udgifter
                                                                                         under         under       uden for
                                                                                       delloft for   delloft for   udgifts-    Indtægter
                                                                                         drifts-     indkomst-      lofter
Mio. kr.                                                                                udgifter     overførsler
§ 1. Dronningen ........................................................                                                85,9
§ 2. Medlemmer af det kongelige hus m.fl. ............                                                                  29,2
§ 3. Folketinget .........................................................                                           1.164,7
§ 5. Statsministeriet ..................................................                   114,0
§ 6. Udenrigsministeriet ...........................................                    16.640,9                       -70,0        94,0
§ 7. Finansministeriet ...............................................                  26.130,1                      -593,6     3.395,9
§ 8. Erhvervsministeriet ...........................................                     1.535,2                      -172,0       340,1
§ 9. Skatteministeriet ................................................                  8.505,4                        -2,1     1.366,5
§ 10. Økonomi- og Indenrigsministeriet ....................                              1.018,6                   206.616,1
§ 11. Justitsministeriet ................................................               18.107,1          143,4                  2.128,0
§ 12. Forsvarsministeriet ............................................                  19.885,7                     3.747,3
§ 14. Udlændinge- og Integrationsministeriet ...........                                 1.979,0        1.603,3        584,6         6,0
§ 15. Børne- og Socialministeriet ..............................                         3.115,2        1.383,6      1.817,2
§ 16. Sundheds- og Ældreministeriet .........................                            5.676,8                     2.842,9
§ 17. Beskæftigelsesministeriet ..................................                       2.144,0     198.300,0       9.535,9    11.337,4
§ 19. Uddannelses- og Forskningsministeriet ............                                30.408,2      21.578,8         445,7        24,3
§ 20. Undervisningsministeriet ...................................                      29.296,6         646,2           7,5
§ 21. Kulturministeriet ...............................................                  8.183,9                       172,9
§ 22. Kirkeministeriet .................................................                   580,8                        19,3
§ 24. Miljø- og Fødevareministeriet ..........................                           5.181,8                       247,6        32,2
§ 28. Transport-, Bygnings- og Boligministeriet ......                                   7.660,3                     8.519,9     1.558,7
§ 29. Energi-, Forsynings- og Klimaministeriet ........                                  2.180,2                     5.492,5     1.294,1
§ 35. Generelle reserver .............................................                  12.548,9                     3.579,9
§ 36. Pensionsvæsenet ................................................                      32,3       26.078,6
I alt ..............................................................................   200.925,0     249.733,9     244.071,4    21.577,2
§ 37. Renter ................................................................                                       17.173,2    -7.719,9
§ 38. Skatter og afgifter .............................................                                14.893,6                716.989,4
I alt ..............................................................................   200.925,0     264.627,5     261.244,6   730.846,7
                                                                                                                   Udgifter    Indtægter
Drifts-, anlægs- og udlånsbudget ................................                                                                4.049,6
§ 40. Genudlån mv. ....................................................                                             10.407,3
§ 41. Beholdningsbevægelser mv. .............................                                                                   -3.016,2
§ 42. Afdrag på statsgælden (netto) ...........................                                                     -9.373,9
Total .............................................................................                                  1.033,4     1.033,4
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Oversigt over udgifter under delloft for driftsudgifter

                                                                                 Driftsposter              Interne statslige overførsler
Mio. kr.
                                                                           Udgifter        Indtægter       Udgifter          Indtægter
§ 3. Folketinget ............................................                      -                   -             -                 -
§ 5. Statsministeriet ......................................                   113,3                 0,2           0,2                 -
§ 6. Udenrigsministeriet ...............................                     2.489,7               255,6          47,4             141,5
§ 7. Finansministeriet ...................................                   3.205,2             2.126,9          29,2             125,1
§ 8. Erhvervsministeriet ...............................                     2.082,0               775,6          39,5              48,8
§ 9. Skatteministeriet ...................................                   8.205,0               169,9           3,1               4,6
§ 10. Økonomi- og Indenrigsministeriet .......                               1.266,1               440,8           3,1                 -
§ 11. Justitsministeriet ...................................                17.723,4               630,9          72,5             115,3
§ 12. Forsvarsministeriet ................................                  20.161,4               712,7          40,7                 -
§ 14. Udlændinge- og Integrationsministeri-
      et ............................................................        1.855,2               165,2          42,4              38,6
§ 15. Børne- og Socialministeriet ..................                         1.082,2                81,8          68,2              66,2
§ 16. Sundheds- og Ældreministeriet ............                             2.725,4             1.186,4          17,7               5,0
§ 17. Beskæftigelsesministeriet .....................                        1.317,8                16,1          20,0              16,5
§ 19. Uddannelses- og Forskningsministeri-
      et ............................................................        1.331,0               152,9           3,4             410,3
§ 20. Undervisningsministeriet ......................                        1.264,9                90,6           1,9               3,3
§ 21. Kulturministeriet ...................................                  3.783,8             1.092,1          14,8              20,2
§ 22. Kirkeministeriet ....................................                     39,1                 3,6             -                 -
§ 24. Miljø- og Fødevareministeriet ..............                           4.333,4             1.660,8         242,7             175,6
§ 28. Transport-, Bygnings- og Boligmini-
      steriet .....................................................          7.277,8             7.508,6          55,1              26,8
§ 29. Energi-, Forsynings- og Klimamini-
      steriet .....................................................          1.791,1              403,7             9,5             39,3
§ 35. Generelle reserver .................................                         -                  -               -                -
§ 36. Pensionsvæsenet ...................................                       31,4                  -               -                -
I alt ..................................................................    82.079,2            17.474,4         711,4           1.237,1

Total ................................................................      82.079,2            17.474,4         711,4           1.237,1
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                                                                                                      2019

   Øvrige overførsler              Finansielle poster                  Kapitalposter             Netto-
Udgifter       Indtægter        Udgifter        Indtægter        Udgifter        Indtægter      udgifter

        -                -              -                  -             -                 -            -
      0,5                -            0,2                  -             -                 -        114,0
 14.629,4            316,8          100,2                  -         192,1             104,0     16.640,9
 26.773,2          1.640,7           15,2                  -             -                 -     26.130,1
    829,3            612,9           22,0                0,3             -               1,3      1.533,9
    319,3              4,5          157,0                  -             -                 -      8.505,4
    244,8             60,4            5,8                  -             -                 -      1.018,6
    807,8              0,9          265,2               14,8             -                 -     18.107,0
    402,8                -            0,5                7,0             -                 -     19.885,7

    261,1                   -         24,1                 -              -                -       1.979,0
  2.183,5                71,8          1,1                 -              -                -       3.115,2
  4.690,3               597,5         32,5               0,2              -             12,9       5.663,9
  1.131,6               308,4         15,9               0,3            6,4              6,4       2.144,0

 29.707,5             68,1            7,6                   -             -             10,0     30.408,2
 34.514,1          6.411,5           15,4                   -             -                -     29.290,9
  5.833,0            468,1          123,7                   -           9,1              0,1      8.183,9
    545,3                -              -                   -             -                -        580,8
 10.176,6          7.785,7           25,2                   -           0,1             18,4      5.137,5

  6.130,3                   -     1.761,4               28,9           20,0             -4,9       7.685,2

    968,1               167,0         21,7               0,2                -            3,0      2.177,2
 12.548,9                   -            -                 -                -              -     12.548,9
      1,0                 0,1          0,1               0,1                -              -         32,3
152.698,4        18.514,4         2.594,8               51,8         227,7             151,2    200.882,6

152.698,4        18.514,4         2.594,8               51,8         227,7             151,2    200.882,6
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Oversigt over udgifter under delloft for indkomstoverførsler

                                                                                 Driftsposter              Interne statslige overførsler
Mio. kr.
                                                                           Udgifter        Indtægter       Udgifter          Indtægter
§ 11. Justitsministeriet ...................................                     90,5                  -              -                    -
§ 14. Udlændinge- og Integrationsministeri-
      et ............................................................             0,6                -              0,6             0,6
§ 15. Børne- og Socialministeriet ..................                                -                -                -               -
§ 17. Beskæftigelsesministeriet .....................                               -              2,0              3,6        13.350,0
§ 19. Uddannelses- og Forskningsministeri-
      et ............................................................                 -                -              -                 -
§ 20. Undervisningsministeriet ......................                                 -                -              -                 -
§ 35. Generelle reserver .................................                            -                -              -                 -
§ 36. Pensionsvæsenet ...................................                             -                -              -               5,8
I alt ..................................................................         91,1              2,0              4,2        13.356,4

§ 38. Skatter og afgifter .................................                           -                -              -                    -
Total ................................................................           91,1              2,0              4,2        13.356,4
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   Øvrige overførsler             Finansielle poster                  Kapitalposter              Netto-
Udgifter       Indtægter       Udgifter        Indtægter        Udgifter        Indtægter       udgifter

    143,3               90,4              -                -               -                -        143,4

  1.602,7                -                -               -             -                 -       1.603,3
  1.383,6                -                -               -             -                 -       1.383,6
219.171,7          7.504,0                -             7,0         312,7             325,0     198.300,0

 21.981,8            403,0                -               -                -                -    21.578,8
    646,2                -                -               -                -                -       646,2
        -                -                -               -                -                -           -
 28.616,1          2.480,9                -            50,8                -                -    26.078,6
273.545,4        10.478,3                 -            57,8         312,7             325,0     249.733,9

 14.893,6                  -              -                -               -                -    14.893,6
288.439,0        10.478,3                 -            57,8         312,7             325,0     264.627,5
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Oversigt over udgifter uden for udgiftsloft

                                                                                 Driftsposter              Interne statslige overførsler
Mio. kr.
                                                                           Udgifter        Indtægter       Udgifter          Indtægter
§ 1. Dronningen ...........................................                      85,9                  -              -                    -
§ 2. Medlemmer af det kongelige hus
      m.fl. .......................................................             29,2                 -               -                  -
§ 3. Folketinget ............................................                  738,8               8,8             2,2                1,3
§ 6. Udenrigsministeriet ...............................                           -                 -               -                  -
§ 7. Finansministeriet ...................................                       0,2              78,6           100,0                  -
§ 8. Erhvervsministeriet ...............................                           -                 -               -                  -
§ 9. Skatteministeriet ...................................                         -                 -               -                  -
§ 10. Økonomi- og Indenrigsministeriet .......                                     -                 -               -                  -
§ 11. Justitsministeriet ...................................                       -                 -               -                  -
§ 12. Forsvarsministeriet ................................                         -                 -               -                  -
§ 14. Udlændinge- og Integrationsministeri-
      et ............................................................                 -                -              -                    -
§ 15. Børne- og Socialministeriet ..................                                  -                -              -                    -
§ 16. Sundheds- og Ældreministeriet ............                                      -                -              -                    -
§ 17. Beskæftigelsesministeriet .....................                                 -                -              -                    -
§ 19. Uddannelses- og Forskningsministeri-
      et ............................................................               -                -               -                 -
§ 20. Undervisningsministeriet ......................                             0,3                -               -                 -
§ 21. Kulturministeriet ...................................                      90,0                -               -                 -
§ 22. Kirkeministeriet ....................................                         -                -               -                 -
§ 24. Miljø- og Fødevareministeriet ..............                               41,7             15,7            10,4              43,0
§ 28. Transport-, Bygnings- og Boligmini-
      steriet .....................................................          1.427,0             578,4              9,7                    -
§ 29. Energi-, Forsynings- og Klimamini-
      steriet .....................................................                   -         2.780,4       3.035,2            3.035,2
§ 35. Generelle reserver .................................                            -               -             -                  -
I alt ..................................................................     2.413,1            3.461,9       3.157,5            3.079,5

§ 37. Renter ....................................................                36,0             18,0              0,1                    -
§ 38. Skatter og afgifter .................................                         -                -                -                    -
Total ................................................................       2.449,1            3.479,9       3.157,6            3.079,5
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                                                                                                         2019

    Øvrige overførsler              Finansielle poster                   Kapitalposter              Netto-
 Udgifter       Indtægter        Udgifter        Indtægter         Udgifter        Indtægter       udgifter

            -                -              -                -                -                -         85,9

         -                -               -                  -             -                  -         29,2
     426,7              5,6             0,2                  -          12,5                  -      1.164,7
       4,0                -               -                  -             -               74,0        -70,0
   2.681,0          3.296,1               -                  -             -                0,1       -593,6
         -             19,0               -               50,0             -              103,0       -172,0
       2,9                -               -                0,4           0,1                4,7         -2,1
 207.235,1            619,0               -                  -             -                  -    206.616,1
         -                -               -                  -             -                  -            -
         -                -               -                  -       3.765,5               18,2      3.747,3

     584,6               -                -                  -                -                -        584,6
   1.814,7               -              2,5                  -                -                -      1.817,2
   2.842,9               -                -                  -                -                -      2.842,9
  19.601,8        10.023,9                -               42,0                -                -      9.535,9

       52,4                8,9       131,9               761,1       7.716,7             6.685,3        445,7
        5,0                  -           -                 2,7          66,6                61,7          7,5
       13,3                  -           -                   -         254,7               185,1        172,9
       19,3                  -           -                   -             -                   -         19,3
       12,7              143,9         4,0                 0,5         507,5               144,3        228,9

     397,5               840,5              -            163,9       8.030,6              255,4       8.026,6

   8.285,3                   -              -             12,4                -                -      5.492,5
   3.579,9                   -              -                -                -                -      3.579,9
 247.559,1        14.956,9           138,6          1.033,0         20.354,2             7.531,8   243.559,4

            -                -    18.365,2          1.210,1                   -                -    17.173,2
            -                -           -                -                   -                -           -
 247.559,1        14.956,9        18.503,8          2.243,1         20.354,2             7.531,8   260.732,6
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Oversigt over indtægtsbudgettet

                                                                                 Driftsposter              Interne statslige overførsler
Mio. kr.
                                                                           Udgifter        Indtægter       Udgifter          Indtægter
§ 6. Udenrigsministeriet ...............................                              -               -              -                     -
§ 7. Finansministeriet ...................................                            -               -              -                     -
§ 8. Erhvervsministeriet ...............................                              -             0,1              -                     -
§ 9. Skatteministeriet ...................................                            -           322,1              -                     -
§ 11. Justitsministeriet ...................................                          -               -           38,0                     -
§ 14. Udlændinge- og Integrationsministeri-
      et ............................................................               -                 -             0,5                 -
§ 17. Beskæftigelsesministeriet .....................                            26,6               5,5             6,3               7,8
§ 19. Uddannelses- og Forskningsministeri-
      et ............................................................                 -                -              -                    -
§ 20. Undervisningsministeriet ......................                                 -                -              -                    -
§ 21. Kulturministeriet ...................................                           -                -              -                    -
§ 24. Miljø- og Fødevareministeriet ..............                                    -                -              -                    -
§ 28. Transport-, Bygnings- og Boligmini-
      steriet .....................................................                   -                -              -                    -
§ 29. Energi-, Forsynings- og Klimamini-
      steriet .....................................................                   -         1.258,6             0,2                    -
§ 35. Generelle reserver .................................                            -               -               -                    -
I alt ..................................................................         26,6           1.586,3           45,0                7,8

§ 37. Renter ....................................................                98,1               0,1      13.762,6                      -
§ 38. Skatter og afgifter .................................                         -                 -             -                      -
Total ................................................................         124,7            1.586,4      13.807,6                 7,8
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                                                                                                        2019

    Øvrige overførsler             Finansielle poster                   Kapitalposter               Netto-
 Udgifter       Indtægter       Udgifter        Indtægter         Udgifter        Indtægter       indtægter

            -          40,0            0,1            54,1                   -                -         94,0
            -          33,1              -         3.362,8                   -                -      3.395,9
            -             -              -           340,0                   -                -        340,1
            -       1.020,2              -            24,2                   -                -      1.366,5
            -       2.166,0              -               -                   -                -      2.128,0

          -            6,5               -                 -                 -               -           6,0
       35,9       11.386,2             0,5               7,2                 -             4,5      11.341,9

            -               -            -              24,3                 -                -         24,3
            -               -            -                 -                 -                -            -
            -               -            -                 -                 -                -            -
            -            32,2          0,3               0,3                 -                -         32,2

            -            30,0              -       1.528,7                   -                -      1.558,7

            -            35,7              -                -                -                -      1.294,1
            -               -              -                -                -                -            -
       35,9       14.749,9             0,9         5.341,6                   -             4,5      21.581,7

            -          2,2        2.266,3          8.404,8                   -                -    -7.719,9
            -    713.589,4        3.000,0          6.400,0                   -                -   716.989,4
       35,9      728.341,5        5.267,2         20.146,4                   -             4,5    730.851,2
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Main Overview



2019
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Main Overview of State Budget                                                                    2019
                                                     Charges     Charges
                                                                             Charges
                                                     under       under
                                                                             outside of
Million Kroner                                       Sub-ceiling sub-ceiling              Income
                                                                             expenditure
                                                     Operating for income
                                                                             ceilings
                                                     Expenses transfers
§ 1. The Queen .............................................                         85,9
§ 2. Royal Household Members and others .                                            29,2
§ 3. The Danish Parliament...........................                             1.164,7
§ 5. Ministry of the State of Denmark ..........           114,0
§ 6. Ministry of Foreign Affairs....................    16.640,9                    -70,0        94,0
§ 7. Ministry of Finance ...............................26.130,1                   -593,6     3.395,9
§ 8. Ministry of Industry, Business and Financial
Affairs ...........................................................   1.535,2              -172,0     340,1
§ 9. Ministry of Taxation ..............................              8.505,4                -2,1   1.366,5
§ 10. Ministry of Economic Affairs and the
Interior...........................................................   1.018,6           206.616,1
§ 11. Ministry of Justice................................            18.107,1     143,4             2.128,0
§ 12. Ministry of Defense .............................              19.885,7             3.747,3
§ 14. The Ministry of Immigration and                                 1.979,0   1.603,3     584,6
Integration .....................................................                                       6,0
§15. Ministry of Children and Social Affairs                          3.115,2   1.383,6   1.817,2
§ 16. Ministry of Health................................              5.676,8             2.842,9
§ 17. Ministry of Employment......................                    2.144,0 198.300,0   9.535,9 11.337,4
§ 19. Ministry of Higher Education and Science                       30.408,2 21.578,8      445,7      24,3
§ 20. Ministry of Education ..........................               29.296,6     646,2       7,5
§ 21. Ministry of Culture ..............................              8.183,9               172,9
§ 22. Ministry of Ecclesiastical Affairs ........                       580,8                19,3
§ 24. Ministry of Environment and Food of
Denmark........................................................       5.181,8               247,6      32,2
§ 28. Ministry of Transport, Building, and                            7.660,3             8.519,9   1.558,7
Housing .........................................................
§ 29.Ministry of Energy, Supply and Climate                           2.180,2             5.492,5   1.294,1
§ 35. General Reserves ................................              12.548,9             3.579,9
§ 36. Pension Administration........................                     32,3 26.078,6
Total ............................................................. 200.925,0 249.733,9 244.071,4 21.577,2
§ 37. Interest .................................................                         17.173,2  -7.719,9
§ 38. Taxes and Charges ..............................                         14.893,6           716.989,4
Total ............................................................. 200.925,0 264.627,5 261.244,6 730.846,7
                                                                                        Expenses    Income
Operating, construction and lending budget .                                                        4.049,6
§ 40. Re-lending etc ......................................                              10.407,3
§ 41. Inventory turnover etc..........................                                             -3.016,2
§ 42. Repayment of Government Debt (Net)                                                 -9.373,9
Total                                                                                     1.033,4   1.033,4
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Overview of sub-ceiling charges for operating expenses
                                                                                 Internal Government
Million Kroner                                         Operating Account               Transfers
                                                      Expenses     Income       Expenses       Income
§ 3. The Danish Parliament..........                            -          -               -           -
§ 5. Ministry of the State of Denmark                      113,3         0,2             0,2           -
§ 6. Ministry of Foreign Affairs...                      2.489,7       255,6            47,4       141,5
§ 7. Ministry of Finance...............                  3.205,2     2.126,9            29,2       125,1
§ 8. Ministry of Industry, Business and
Financial Affairs ..........................             2.082,0       775,6           39,5        48,8
§ 9. Ministry of Taxation .............                  8.205,0       169,9            3,1         4,6
§ 10. Ministry of Economic Affairs and                   1.266,1       440,8            3,1
                                                                                                       -
the Interior....................................
§ 11. Ministry of Justice...............                17.723,4       630,9           72,5       115,3
§ 12. Ministry of Defense ............                  20.161,4       712,7           40,7           -
§ 14. The Ministry of Immigration and
Integration ....................................         1.855,2       165,2           42,4        38,6
§15. Ministry of Children and Social                     1.082,2        81,8           68,2        66,2
Affairs ..........................................
§ 16. Ministry of Health...............                  2.725,4      1.186,4          17,7         5,0
§ 17. Ministry of Employment.....                        1.317,8         16,1          20,0        16,5
§ 19. Ministry of Higher Education and
Science .........................................        1.331,0        152,9           3,4       410,3
§ 20. Ministry of Education .........                    1.264,9         90,6           1,9         3,3
§ 21. Ministry of Culture .............                  3.783,8      1.092,1          14,8        20,2
§ 22. Ministry of Ecclesiastical Affairs                    39,1          3,6             -           -
§ 24. Ministry of Environment and Food                   4.333,4      1.660,8         242,7       175,6
of Denmark ..................................
§ 28. Ministry of Transport, Building, and
Housing ........................................         7.277,8      7.508,6          55,1        26,8
§ 29. Ministry of Energy, Supply and
Climate ........................................         1.791,1       403,7            9,5        39,3
§ 35. General Reserves ................                        -           -              -           -
§ 36. Pension Administration.......                         31,4           -              -           -
Total .............................................     82.079,2    17.474,4          711,4     1.237,1
Total ............................................      82.079,2    17.474,4          711,4     1.237,1
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                                                                                     2019

   Other Transfers          Financial Account          Capital Account
                                                                             Net Expenses
Expenses     Income       Expenses      Income      Expenses     Income
       0,5             -         0,2             -            -           -          114,0
  14.629,4         316,8       100,2             -       192,1        104,0       16.640,9
  26.773,2       1.640,7        15,2             -            -           -       26.130,1
     829,3         612,9        22,0           0,3            -         1,3        1.533,9
     319,3           4,5       157,0             -            -           -        8.505,4
     244,8          60,4         5,8             -            -           -        1.018,6
     807,8           0,9       265,2          14,8            -           -       18.107,0
     402,8             -         0,5           7,0            -           -       19.885,7
     261,1              -       24,1              -           -            -       1.979,0
   2.183,5          71,8         1,1             -            -           -        3.115,2
   4.690,3         597,5        32,5           0,2            -        12,9        5.663,9
   1.131,6         308,4        15,9           0,3         6,4          6,4        2.144,0
  29.707,5          68,1         7,6              -           -        10,0       30.408,2
  34.514,1       6.411,5        15,4             -            -           -       29.290,9
   5.833,0         468,1       123,7             -         9,1          0,1        8.183,9
     545,3             -            -            -            -           -          580,8
  10.176,6       7.785,7        25,2             -         0,1         18,4        5.137,5
   6.130,3             -     1.761,4          28,9        20,0         -4,9        7.685,2
     968,1         167,0        21,7           0,2            -         3,0        2.177,2
  12.548,9             -            -            -            -           -       12.548,9
       1,0           0,1         0,1           0,1            -           -           32,3
 152.698,4     18.514,4      2.594,8          51,8       227,7        151,2     200.882,6
 152.698,4     18.514,4      2.594,8          51,8       227,7        151,2     200.882,6
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Overview of sub-ceiling expenses for income transfers
                                                                                         Internal Government
Million kroner                                                 Operating Account               Transfers
                                                             Expenses      Income       Expenses       Income
§ 11. Ministry of Justice........................          90,5               -     -              -
§ 14. The Ministry of Immigration and
      Integration ....................................     0,6                      0,6            0,6
      Ministry of Children and Social
                                                           -                 -      -              -
§ 15. Affairs ..........................................
§ 17. Ministry of Employment ..............                -                 2,0    3,6            13.350,0
§ 19. Ministry of Higher Education and
      Science .........................................
§ 20. Ministry of Education ..................             -                 -      -              -
§ 35. General Reserves..........................           -                 -      -              -
§ 36. Pension Administration................               -                 -      -              5,8
I alt                                                      91,1              2,0    4,2            13.356,4
§ 38. Taxes and Charges .......................            -                 -      -              -
Total                                                      91,1              2,0    4,2            13.356,4
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                                                                                     2019

   Otehr Transfers          Financial Account          Capital Account
                                                                             Net Expenses
Expenses     Income       Expenses      Income      Expenses     Income
     143,3          90,4            -            -            -           -          143,4
   1.602,7              -           -             -           -            -       1.603,3
   1.383,6             -            -            -            -           -        1.383,6
 219.171,7       7.504,0            -          7,0       312,7        325,0     198.300,0
  21.981,8         403,0            -             -           -            -      21.578,8
     646,2             -            -            -            -           -          646,2
  28.616,1       2.480,9            -         50,8            -           -       26.078,6
 273.545,4     10.478,3             -         57,8       312,7        325,0     249.733,9
  14.893,6             -            -            -            -           -       14.893,6
 288.439,0     10.478,3             -         57,8       312,7        325,0     264.627,5
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Overview of Expenses Outside of Expenditure Ceiling
                                                                                     Internal Government
Million kroner                                           Operating Account           Transfers
                                                         Expenses      Income        Expenses       Income
§ 1. The Queen ............................                       85,9             -              -             -
§ 2. Royal Household Members and
others
. ....................................................           29,2              -            -               -
§ 3. The Danish Parliament..........                            738,8            8,8          2,2             1,3
§ 6. Ministry of Foreign Affairs...                                 -              -            -               -
§ 7. Ministry of Finance...............                           0,2           78,6        100,0               -
§ 8. Ministry of Industry, Business and
                                                                     -             -             -              -
Financial Affairs ..........................
§ 9. Ministry of Taxation .............                              -             -             -              -
§ 10. Ministry of Economic Affairs and
                                                                     -             -             -              -
the Interior....................................
§ 11. Ministry of Justice...............                             -             -             -              -
§ 12. Ministry of Defense ............                               -             -             -              -
§ 14. The Ministry of Immigration and
Integration
......................................................               -             -             -              -
§15. Ministry of Children and Social
                                                                     -             -             -              -
Affairs ..........................................
§ 16. Ministry of Health...............                              -             -             -              -
§ 17. Ministry of Employment.....                                    -             -             -              -
§ 19. Ministry of Higher Education and
Science
......................................................               -             -             -              -
§ 20. Ministry of Education .........                              0,3             -             -              -
§ 21. Ministry of Culture .............                           90,0             -             -              -
§ 22. Ministry of Ecclesiastical Affairs
                                                                     -             -             -              -
......................................................
§ 24. Ministry of Environment and Food
of Denmark                                                        41,7          15,7          10,4           43,0
§ 28. Ministry of Transport, Building, and
Housing
 .....................................................         1.427,0       578,4             9,7              -
§ 29. Ministry of Energy, Supply and
Climate
......................................................               -      2.780,4       3.035,2       3.035,2
§ 35. General Reserves ................                              -            -             -             -
Total .............................................            2.413,1      3.461,9       3.157,5       3.079,5
§ 37. Interest.................................                   36,0         18,0           0,1               -
§ 38. Taxes and Charges ..............                               -            -             -             -
Total ............................................             2.449,1      3.479,9       3.157,6       3.079,5
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   Other Transfers          Financial Account          Capital Account
                                                                              Net Expenses
Expenses     Income       Expenses      Income      Expenses      Income
          -            -            -            -            -            -           85,9
          -             -           -             -           -             -          29,2
     426,7           5,6         0,2             -        12,5             -        1.164,7
       4,0             -            -            -            -         74,0          -70,0
   2.681,0       3.296,1            -            -            -          0,1         -593,6
          -         19,0            -         50,0            -        103,0         -172,0
       2,9             -            -          0,4         0,1           4,7           -2,1
 207.235,1         619,0            -            -            -            -     206.616,1
          -            -            -            -     3.765,5          18,2        3.747,3
     584,6              -           -             -           -             -         584,6
   1.814,7             -         2,5             -            -            -        1.817,2
   2.842,9             -            -            -            -            -        2.842,9
  19.601,8     10.023,9             -         42,0            -            -        9.535,9
      52,4           8,9       131,9         761,1     7.716,7       6.685,3          445,7
       5,0             -            -          2,7        66,6          61,7            7,5
      13,3             -            -            -       254,7         185,1          172,9
      19,3             -            -            -            -            -           19,3
      12,7         143,9         4,0           0,5       507,5         144,3          228,9
     397,5         840,5            -        163,9     8.030,6         255,4        8.026,6
   8.285,3              -           -         12,4            -             -       5.492,5
   3.579,9             -            -            -            -            -        3.579,9
 247.559,1     14.956,9        138,6       1.033,0    20.354,2       7.531,8     243.559,4
          -            -    18.365,2       1.210,1            -            -       17.173,2
 247.559,1     14.956,9     18.503,8       2.243,1    20.354,2       7.531,8     260.732,6
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Overview of the Revenue Budget
                                                                                       Internal Government
Million kroner                                               Operating Account               Transfers
                                                          Expenses       Income       Expenses       Income
§ 6. Ministry of Foreign Affairs..........                            -         -                -          -
§ 7. Ministry of Finance ......................                       -         -                -          -
      Ministry of Industry, Business and
                                                                     -                           -            -
§ 8. Financial Affairs...........................                              0,1
§ 9. Ministry of Taxation ....................                       -       322,1              -             -
§ 11. Ministry of Justice........................                    -           -           38,0             -
§ 14. The Ministry of Immigration and
      Integration ...................................                                          0,5
§ 17. Ministry of Employment ..............                       26,6          5,5            6,3          7,8
§ 19. Ministry of Higher Education and
      Science .........................................
§ 20. Ministry of Education ..................                       -            -              -            -
§ 21. Ministry of Culture.......................                     -            -              -            -
      Ministry of Environment and Food
                                                                     -            -              -            -
§ 24. of Denmark...................................
§ 28. Ministry of Transport, Building, and
      Housing ......................................
§ 29. Ministry of Energy, Supply and
      Climate .........................................                     1.258,6            0,2
§ 35. General Reserves..........................                     -            -              -            -
I alt                                                             26,6      1.586,3           45,0          7,8
§ 37. Interest.................................                   98,1          0,1       13.762,6            -
§ 38. Taxes and Charges .......................                      -            -              -            -
Total                                                            124,7      1.586,4       13.807,6          7,8
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                                                                                   2019

   Other Transfers         Financial Account          Capital Account
                                                                           Net Expenses
Expenses     Income      Expenses      Income      Expenses     Income
          -         40,0        0,1          54,1            -           -          94,0
          -         33,1           -      3.362,8            -          -        3.395,9
          -            -           -        340,0            -          -          340,1
          -      1.020,2           -         24,2            -          -        1.366,5
          -      2.166,0           -            -            -          -        2.128,0
          -          6,5           -             -           -           -           6,0
      35,9     11.386,2         0,5           7,2            -        4,5       11.341,9
          -            -           -         24,3            -          -           24,3
                                                             -           -
          -         32,2        0,3           0,3                                   32,2
          -         30,0           -      1.528,7            -          -        1.558,7
          -         35,7           -            -            -          -        1.294,1
      35,9     14.749,9         0,9       5.341,6            -        4,5       21.581,7
          -          2,2    2.266,3       8.404,8            -           -      -7.719,9
          -   713.589,4     3.000,0       6.400,0            -          -     716.989,4
      35,9    728.341,5     5.267,2      20.146,4            -        4,5     730.851,2
